Filed 8/23/24 P. v. Hawkins CA2/1
   NOT TO BE PUBLISHED IN THE OFFICIAL REPORTS
California Rules of Court, rule 8.1115(a), prohibits courts and parties from citing or relying on opinions
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IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

                         SECOND APPELLATE DISTRICT

                                        DIVISION ONE


 THE PEOPLE,                                                  B331664

           Plaintiff and Respondent,                          (Los Angeles County
                                                               Super. Ct. No. TA128246)
           v.

 ERIC HAWKINS,

           Defendant and Appellant.


      APPEAL from an order of the Superior Court of Los
Angeles County, Tammy Chung Ryu, Judge. Reversed.
      Jonathan E. Demson, under appointment by the Court of
Appeal, for Defendant and Appellant.
      Rob Bonta, Attorney General, Lance E. Winters, Chief
Assistant Attorney General, Susan Sullivan Pithey, Assistant
Attorney General, Noah P. Hill and Kathy S. Pomerantz, Deputy
Attorneys General, for Plaintiff and Respondent.

                                  ______________________
      In 2015, defendant and appellant Eric Hawkins pleaded no
contest to one count of first degree murder, and the trial court
sentenced him to 25 years to life. In 2022, Hawkins filed a
petition for resentencing under Penal Code section 1172.6,1
alleging that he could no longer be convicted of murder because of
recent changes to the law. The trial court denied the petition,
finding that Hawkins had failed to make a prima facie case that
he was entitled to relief because the record of conviction (namely,
the preliminary hearing transcript) showed that he “was, in fact,
the shooter who ended up killing the . . . victim in this case.”
       Hawkins contends this was error, and we agree. Hawkins
pleaded guilty before the People needed to elect what theory or
theories of malice they ultimately would pursue. The record of
conviction contains evidence that the murder was committed in
the course of an attempted robbery by Hawkins and another
individual, his codefendant Carl Caldwell. This meant that the
People could pursue a theory of express malice (that Hawkins
intentionally shot and killed the victim), a felony murder theory
(that Hawkins participated in a robbery during which murder
was committed), liability under the natural and probable
consequences doctrine (that the murder was a natural and
probable consequence of the robbery), or argue in the alternative
for some or all of these three theories.


      1 At the time Hawkins filed his petition, the applicable
statute was found at Penal Code section 1170.95. Assembly Bill
No. 200 (Reg. Sess. 2021-2022) has since renumbered section
1170.95 as section 1172.6. (See Stats. 2022, ch. 58, § 10.) For
clarity, we refer to the current citation at section 1172.6
throughout the discussion section. Unless otherwise specified,
subsequent statutory references are to the Penal Code.




                                 2
       Hawkins therefore made a prima facie showing that
entitled him to an evidentiary hearing because the information
filed against him “allowed [his] prosecution to proceed under a
theory of felony murder [and] murder under the natural and
probable consequences doctrine.” (§ 1172.6, subd. (a)(1).)
Although the transcript of the preliminary hearing strongly
suggests that Hawkins was the actual killer and therefore
ineligible for relief, the trial court may not “engage in ‘factfinding
involving the weighing of evidence or the exercise of discretion’ ”
(People v. Lewis (2021) 11 Cal.5th 952, 972) at the prima facie
stage. Accordingly, we reverse the trial court’s order and remand
for an evidentiary hearing. (See § 1172.6, subd. (d)(3).)
 FACTUAL BACKGROUND AND PROCEEDINGS BELOW
A.     The Murder Charge and Plea
       The People charged Hawkins and Caldwell with eight
felony counts for their actions in two separate events: a robbery
at a recycling center on the morning of March 17, 2012, and an
attempted robbery and murder in a shopping center parking lot
the following afternoon, March 18, 2012. The only charge
relevant to this appeal is the allegation of murder arising from
the second incident. The People charged both Hawkins and
Caldwell with murder (§ 187, subd. (a)), and alleged that
Hawkins personally and intentionally discharged a firearm
causing great bodily injury and death (§ 12022.53, subd. (d)) in
the commission of the murder. The People also alleged that a
felony-murder special circumstance (§ 190.2, subd. (a)(17))
applied because Hawkins and Caldwell committed the murder in
the commission of a robbery.
       At the preliminary hearing, three witnesses to the murder
testified: Armando Justin, Kiwanna Birks, and Rasmi Hijaz, the




                                  3
father of the murder victim, Basel Hijaz. The following account
of the events surrounding the shooting is drawn from their
testimony at the hearing.
       On the afternoon of March 18, 2012, Birks arranged to
meet with Rasmi2 at a Starbucks in Lynwood to sell a necklace.
Rasmi and Basel ran a business buying jewelry, and Birks and
her friend Justin had sold items to them several times in the
past. According to Justin, he and Birks had been hanging out
with Hawkins and Caldwell that day in the courtyard of the
building where Birks lived. Just before Justin and Birks left,
either Hawkins or Caldwell asked where they were going, and
Birks told them she was going to sell a necklace.3 Justin did not
have any jewelry to sell, but he accompanied Birks anyway.
       Rasmi and Basel had already parked their car in the
Starbucks parking lot when Birks and Justin arrived. Birks gave
the necklace to Rasmi, who was standing outside the car, and he
handed it to Basel, who was sitting in the car, to examine it. At
this point, Hawkins and Caldwell approached the group.
Hawkins asked Rasmi if he had any marijuana. Rasmi said he
did not have any but offered Hawkins cigarettes. Hawkins did
not take the cigarettes, and instead pulled out a gun and pointed
it at Rasmi. According to Justin, Hawkins demanded that Rasmi
give him his money.
       Rasmi testified that he pushed Hawkins away, at which
point Caldwell pulled out an iron bar and hit Rasmi on the head.


     2 We refer to Rasmi and Basel Hijaz by their first names to
distinguish them. We intend no disrespect.
     3 Birks testified that she did not remember telling Caldwell
and Hawkins where she was going.




                                4
Hawkins then hit Rasmi with the butt of his gun, and Rasmi fell
to the ground. Rasmi blacked out after the blow, but he saw
Hawkins fire the gun at Basel, who fell to the ground. Caldwell
started hitting Basel with his fists, so Rasmi stood up, picked up
a chair, and threw it at him. Caldwell then ran away, following
Hawkins, who had fled after firing the gun. Rasmi tried to speak
with Basel, but Basel did not respond. Basel died of a gunshot
wound to the back of the head, and Rasmi suffered a broken nose.
       Justin’s recollection of the altercation differed in some
details. He testified that, when Hawkins pulled the gun, Rasmi
attempted to choke him rather than push him. At this point,
Basel got out of the car, and Caldwell began fighting with him.
Justin began trying to flee the moment he saw the gun, and as a
result, he heard the gunshot but did not see if it was Hawkins
that fired it. Justin agreed, however, that Hawkins was the only
person who had a gun at the time.
       Birks testified that she remembered few details of the
shooting. She saw Hawkins and Caldwell fighting with Rasmi
and Basel, and heard a gunshot, but she did not remember seeing
anyone with a gun. A police officer testified that he spoke with
Birks hours after the shooting, and Birks told him that Hawkins
had pointed a handgun at them and told Rasmi to give him all his
money. When presented with her previous statements to police,
Birks testified that she saw one of the two suspects point a gun at
Rasmi’s head but did not remember who. Later, the prosecutor
asked, “Was [Hawkins] the only person you saw pointing a gun?”
and Birks replied, “Yes.” The prosecutor continued, “Was he the
only person you saw fire a gun?” and Birks answered, “Yes.”
       Hawkins agreed to a plea bargain in which he pleaded no
contest to first degree murder, and in exchange the People agreed




                                5
to drop the remaining charges, as well as the firearm and special
circumstance allegations. At the plea hearing, Hawkins did not
stipulate to a factual basis to the charge, and the trial court
sentenced him to 25 years to life pursuant to the agreement.
B.     The Section 1172.6 Petition
       At the time of Hawkins’s prosecution, then-section 189 set
forth a felony-murder rule that “[a]ll murder . . . which is
committed in the perpetration of, or the attempt to perpetrate . . .
robbery . . . is murder of the first degree.” (Former § 189.) The
natural and probable consequences doctrine then provided that
“[a]n aider and abettor [was] guilty not only of the intended, or
target, crime but also of any other crime a principal in the target
crime actually commits (the nontarget crime) that is a natural
and probable consequence of the target crime.” (People v. Smith
(2014) 60 Cal.4th 603, 611.)
       In 2018, after Hawkins’s guilty plea and sentencing, the
Legislature enacted Senate Bill No. 1437 (2017-2018 Reg. Sess.)
(Senate Bill 1437), which eliminated the natural and probable
consequences doctrine as a basis of liability for murder (People v.
Gentile (2020) 10 Cal.5th 830, 847-848) and restricted the
application of the felony-murder rule to require greater proof of
the defendant’s personal culpability for the killing. (See, e.g.,
People v. Strong (2022) 13 Cal.5th 698, 707-708.) Under the new
law, “[a] participant in the perpetration or attempted
perpetration of a felony listed in [section 189,] subdivision (a) in
which a death occurs,” with robbery still being one of the listed
felonies, “is liable for murder only if one of the following is
proven: [¶] (1) The person was the actual killer. [¶] (2) The
person was not the actual killer, but, with the intent to kill,
aided, abetted, counseled, commanded, induced, solicited,




                                 6
requested, or assisted the actual killer in the commission of
murder in the first degree. [¶] (3) The person was a major
participant in the underlying felony and acted with reckless
indifference to human life.” (§ 189, subd. (e).). The legislation
also enacted section 1172.6, which provides a mechanism for
defendants previously convicted of murder, but who could not be
convicted of murder under the law as amended, to petition for the
court to vacate their convictions and resentence them.
       Hawkins filed a petition for resentencing on July 14, 2022.
The petition alleged without elaboration that Hawkins “could not
presently be convicted of murder . . . because of” the recent
changes to the murder statutes. After appointing counsel and
receiving briefing from both sides, the trial court denied the
petition on the ground that Hawkins failed to make a prima facie
case that he was entitled to relief. (See § 1172.6, subd. (c).) The
court reasoned that “[t]he only legal theory [under] which . . .
Hawkins was prosecuted was that he was the shooter,” and that
all the testimony at the preliminary hearing confirmed that he
was indeed the shooter and thus was ineligible for relief.
                          DISCUSSION
       Hawkins contends the trial court erred by denying his
petition at the prima facie stage on the basis of facts derived from
testimony at the preliminary hearing. We agree.
       When a defendant files a facially sufficient petition for
resentencing, the trial court must first determine whether he has
made a prima facie case for relief. (§ 1172.6, subd. (c).) At this
stage, the trial court must “ ‘ “take[ ] [the] petitioner’s factual
allegations as true” ’ ” (People v. Lewis, supra, 11 Cal.5th at
p. 971) and may “not engage in ‘factfinding involving the
weighing of evidence or the exercise of discretion.’ ” (Id. at




                                 7
p. 972.) The prima facie stage sets a “ ‘very low’ ” bar (ibid.) for
defendants to clear, but it nevertheless serves an important role
in “ensuring that clearly meritless petitions can be efficiently
addressed as part of a single-step . . . review process” without
requiring an evidentiary hearing. (Id. at p. 971.)
       A defendant’s bare assertion that he meets the criteria of
section 1176.2, subdivision (a) does not satisfy the prima facie
showing when the record of conviction contradicts that assertion.
Our Supreme Court has made clear that “ ‘if the record, including
the court’s own documents, “contain[ ] facts refuting the
allegations made in the petition,” then “the court is justified in
making a credibility determination adverse to the petitioner” ’ ”
and denying the petition at the prima facie stage. (People v.
Lewis, supra, 11 Cal.5th at p. 971.) In another case, the court
independently reviewed the record and affirmed the denial of a
petition at the prima facie stage because “the record . . . makes
clear that [the defendant] was the actual killer and the only
participant in the killing.” (People v. Delgadillo (2022) 14 Cal.5th
216, 233.)
       In cases where the defendant was convicted after a trial,
the record of conviction typically shows the grounds on which the
defendant was prosecuted, allowing courts to weed out meritless
cases at the prima facie stage. If, for example, the jury was not
instructed on a theory of murder affected by Senate Bill 1437 (see
People v. Harden (2022) 81 Cal.App.5th 45, 52), or if the verdict
form shows that the jury convicted the defendant on a still-valid
theory (see People v. Strong, supra, 13 Cal.5th at p. 715), the trial
court may correctly find that the defendant has failed to make a
prima facie case for relief. When a defendant pleads guilty or no
contest, however, he typically does not admit to a specific theory




                                  8
of guilt (see People v. French (2008) 43 Cal.4th 36, 52), and often,
as here, does not stipulate to a factual basis for his plea.
       Given these issues, courts have disagreed on how to
evaluate a petition at the prima facie stage when the defendant
pleaded guilty. Some Courts of Appeal have held that a trial
court may deny a petition at the prima facie stage when the
record of conviction shows the defendant acted alone and the case
did not allow for prosecution on any imputed malice theory,
demonstrating that the defendant was ineligible for relief. (E.g.,
People v. Mares (2024) 99 Cal.App.5th 1158, 1161, review granted
May 1, 2024, S284232; People v. Patton (2023) 89 Cal.App.5th
649, review granted June 28, 2023, S279670.) Other courts have
held that even this minimal amount of scrutiny runs afoul of the
bar on factfinding at the prima facie stage. (E.g., People v.
Williams (2024) 103 Cal.App.5th 375; People v. Davenport (2021)
71 Cal.App.5th 476.)
       We addressed this question in People v. Pickett (2023) 93
Cal.App.5th 982, review granted October 11, 2023, S281643. In
that case, the trial court denied the defendant’s petition for
resentencing on the basis of testimony at the preliminary hearing
indicating that the defendant shot and killed the victim, and that
no one else was involved in the crime. (See id. at pp. 985-986.)
We first observed, “In cases where the conviction resulted from a
guilty plea rather than a trial, the record of conviction may
include the transcript of the defendant’s preliminary hearing
testimony when the transcript ‘reliably reflect[s] the facts of the
offense for which the defendant was convicted.’ [Citations.]” (Id.
at p. 988.) We then noted that the defendant “does not deny that
he was the actual killer, nor does he assert that another person
fired the shot that killed [the victim] or that he acted without the




                                 9
intent to kill. He merely states the legal conclusion that he could
not now be convicted of murder because of changes made to the
law of murder under Senate Bill . . . 1437.” (Id. at p. 989.) In
addition, the defendant did not file a reply brief to counter the
evidence from the preliminary hearing, or to suggest there could
be any interpretation of that evidence in which he could be
eligible for relief.
       We held that “[u]nder these circumstances, where the
defendant alleges no facts concerning the murder to which he
pleaded guilty, the People introduce without objection
uncontroverted evidence from the preliminary hearing transcript
showing that the defendant acted alone in killing the victim, and
the defendant does not put forth, by way of briefing or oral
argument, any factual or legal theory in support of his petition,
the defendant has failed to make a prima facie showing for relief
under section 1172.6. [Citations.]” (People v. Pickett, supra, 93
Cal.App.5th at p. 990.)
       Hawkins argues we should reject our reasoning in Pickett
and adopt Davenport’s holding that courts should not consider
facts from the preliminary hearing at the prima facie stage
unless the defendant stipulated to those facts as a basis for his or
her plea. We disagreed with Davenport’s reasoning in Pickett
(see People v. Pickett, supra, 93 Cal.App.5th at pp. 992-993), and
Hawkins does not persuade us to reverse course. Our view
remains that Davenport’s approach is inconsistent with our
Supreme Court’s statements in Lewis and Delgadillo about the
prima facie stage screening process.
       People v. Williams, supra, 103 Cal.App.5th 375 has since
gone even farther than Davenport. In Williams, an attempted
murder case, the People and defense counsel stipulated that the




                                 10
preliminary hearing transcript provided a sufficient factual basis
for the defendant’s plea to attempted murder and second degree
robbery, and further stipulated to facts as part of the plea that
the defendant intended to kill the victim and personally used a
firearm in the commission of the offense. (Id. at p. 384.) The
Williams court held that “neither the preliminary hearing
transcript nor defense counsel’s stipulation to that transcript
providing a factual basis for the plea” can ever “conclusively
establish[ ] that [a] petitioner entered a plea to attempted murder
under a still-valid theory” because of the prohibition on judicial
factfinding at the prima facie stage. (Id. at p. 403, fn. omitted.)
       In a dissent, Justice Kathleen Meehan observed, “There is
no indication the Legislature intended cases resolved by plea to
escape meaningful evaluation at the prima facie stage and . . . the
California Supreme Court has interpreted [section 1172.6] as . . .
permitting the dismissal of obviously meritless petitions. [¶]
Courts must take care not to demand too much of the petitioner
at the prima facie stage, but they must also not demand so little
that the prima facie review is rendered meaningless and direct
perpetrator cases with uncontroverted records of conviction move
to the next stage based on nothing more than a form petition with
the requisite boxes checked. If, under the circumstances in this
case, filing a form petition with boxes checked is sufficient to
justify an evidentiary hearing, the prima facie review stage is
rendered hollow, our high court’s express endorsement of limited
record review and dismissal of petitions where the record refutes
the petition allegations is not given effect, clearly meritless
petitions will proceed to an evidentiary hearing, and already
swamped trial courts will be needlessly burdened by conducting
evidentiary hearings on meritless petitions. This is not a small




                                11
matter, considering that a significant percentage of cases are
resolved by plea [citations], and I am unpersuaded that this
result was intended by the Legislature or compelled by” Supreme
Court precedent. (People v. Williams, supra, 103 Cal.App.5th at
p. 424 (dis. opn. of Meehan, J.).) We have nothing to add to the
dissent’s cogent analysis, with which we agree.
       Our rejection of Williams and Davenport does not mean,
however, that we believe a court should weigh the evidence at the
prima facie stage. The People argue that the logic of Mares,
Pickett, and Patton dictates that we affirm the denial of
Hawkins’s petition. That misunderstands what Mares, Pickett,
and Patton hold. In each of those cases, the court did not need to
credit the truth of any fact in the preliminary hearing transcript
to determine the defendant was ineligible for relief. Instead, the
preliminary hearing transcripts did not disclose any potential
facts or theory on which the People could proceed other than that
the defendant in each of those cases was the actual killer or
attempted killer. Nor were the defendants able to articulate any
theory of imputed malice that could have applied to them.
       The defendants in Mares, Pickett, and Patton each acted
alone with no indication there was any accomplice. In Mares, the
preliminary hearing transcript “support[ed] no theory other than
those where [the defendant] was the actual killer, acting with no
accomplice.” (People v. Mares, supra, 99 Cal.App.5th at p. 1167.)
In Pickett, “[t]here was no evidence suggesting that anyone other
than [the defendant] was involved in [the victim]’s death.”
(People v. Pickett, supra, 93 Cal.App.5th at p. 986.) In Patton, the
defendant offered no theory, nor did the record of conviction
disclose one, to support his implicit contention that he was not
the actual shooter. The preliminary hearing transcript indicated




                                12
the defendant acted alone in approaching the victim and shooting
him. (People v. Patton, supra, 89 Cal.App.5th at pp. 652-653.)
Also, in each of these cases, the murder or attempted murder did
not occur in connection with a felony listed in former section 189.
(People v. Mares, supra, 99 Cal.App.5th at pp. 1161-1162; People
v. Pickett, supra, 93 Cal.App.5th at pp. 985-986; People v. Patton,
supra, 89 Cal.App.5th at pp. 652-653.) These courts accordingly
did not need to find or weigh any facts, because there were no
facts at all to suggest the prosecution could have proceeded on a
now prohibited theory. (E.g., People v. Mares, supra, 99
Cal.App.5th at p. 1171.)
       Here, in contrast, Hawkins did not act alone and the
murder was committed in connection with an attempted robbery,
a felony that was subject to the felony-murder rule. One witness
saw Hawkins shoot the murder victim, another did not, and the
third equivocated. The preliminary hearing transcript therefore
contained evidence that would have allowed the prosecution to
proceed under a theory of imputed malice. Indeed, one would
have expected the People to hedge their bets in a two-defendant
case such as this by arguing that Hawkins was the actual killer,
but that even if the jury was not convinced of that fact beyond a
reasonable doubt Hawkins would still be guilty of murder under
either the felony-murder rule or the natural and probable
consequences doctrine. Even if the People ultimately did not do
that for some reason, the record of conviction shows at the time of
Hawkins’s guilty plea the case against him allowed the possibility
for the People to proceed under imputed malice theories. Thus,
Hawkins made a prima facie case for relief as the record of
conviction did not exclude the possibility that he was or could
have been convicted of first degree murder under a now




                                13
prohibited theory. (See People v. Mares, supra, 99 Cal.App.5th at
p. 1169 [the petitioner’s assertion he could not be guilty today
because of changes to sections 188 or 189 “is sufficient where the
record contains a possibility that the defendant could have been
found guilty under a now-abrogated” theory].)
       The People contend we should affirm because even if
Hawkins did not act alone, “The testimony of percipient
witnesses shows that [Hawkins] was convicted as the actual
killer and not as the result of any now-invalid theory.” That
would require us, impermissibly, to weigh evidence at the prima
facie stage. The testimony at the preliminary hearing strongly
suggested Hawkins shot Basel, but as just explained it also
permitted the People to prosecute Hawkins for murder under a
theory not requiring proof that he was the actual killer.
       The Supreme Court explained in Lewis that the purpose of
the prima facie stage is to “ensur[e] that clearly meritless
petitions can be efficiently addressed” without the need of an
evidentiary hearing. (People v. Lewis, supra, 11 Cal.5th at
p. 971.) If that stage is to serve its role in cases involving pleas,
it must allow for the denial of a petition in a case where the
record shows—without any need to weigh evidence—that the
changes in murder law enacted in Senate Bill 1437 do not impact
the defendant’s conviction. But that does not mean courts can
screen out cases where the record of conviction contains facts
indicating the prosecution could have proceeded on a now
prohibited theory of imputed malice, even if that was not the
most likely theory. Here, the preliminary hearing testimony
accusing Hawkins of shooting Basel did “ ‘not establish [his]
ineligibility for resentencing as a matter of law’ ” (People v.
Pickett, supra, 93 Cal.App.5th at p. 993, quoting People v. Flores




                                 14
(2022) 76 Cal.App.5th 974, 991), and accordingly, the trial court
erred by denying the petition at the prima facie stage.
                          DISPOSITION
      The trial court’s order is reversed. On remand, the trial
court shall issue an order to show cause and hold an evidentiary
hearing as specified in section 1172.6, subdivision (d)(3).
      NOT TO BE PUBLISHED




                                          WEINGART, J.


We concur:




             ROTHSCHILD, P. J.




             BENDIX, J.




                                15
